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             EXHIBIT 3
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Dear Justin and all members of the Kirkland Fire Department,

Along with the rest of council, I received your “letter” outlining
concerns regarding maintaining an effective and responsive workforce
this morning. This response is only on my behalf, not as representative
of the council.

First off, I want to express my gratitude that the large majority of you
have chosen to be vaccinated and report it. However, I cannot express
how very disappointed I am in those of you refusing to do so. I realize
that it is a choice but as someone who spent a career in healthcare it is
one that I would expect care givers to embrace.

As the child of a physician in the 50’s I recall hiding under a bed to
avoid receiving a polio vaccine dad brought home. He found me. I also
recall my father’s joy at having a tool to stop the spread of such an
insidious disease from infecting any more of his patients and
community.

As the grandparent of two children under 5 who cannot be vaccinated I
cannot believe that the people who are entrusted with the life safety and
taking care of the citizens of our community would not take every
precaution, including the vaccine, to assure the highest and most secure
environment for all of us. Getting vaccinated should be something about
which to be proud.

For 12 years on the council I have worked specifically on Public Safety
Issues as a primary passion of mine. I have worked through all the issues
of the Fire Strategic plan from 2012 and am so proud to have chaired the
Prop 1 Committee which will deal specifically with issues around the
health and safety of our firefighters.

As a public servant and representative of the citizens of Kirkland,
working with my peers on the council, the last two years have been
incredibly difficult, as I know you are all aware. Every policy decision
we have made with management has been to assure the safest and most
science driven outcomes that we possibly can. The decision, moving
forward with separating from unvaccinated firefighters is one of those.

Best wishes for a safe and happy holiday, Penny Sweet
